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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA



    ASSATA ACEY
                                             Case No.: 2:23-cv-01438
                          Plaintiff,
    v.                                       Judge Paul S. Diamond

    INDUCTEV

                        Defendant.

     DEFENDANT’S OPPOSITION TO PLAINTIFF’S AMENDED RULE 56
           MOTION FOR PARTIAL SUMMARY JUDGMENT

         Defendant InductEV (“Defendant”), by and through its attorneys, Fox

Rothschild LLP, respectfully submits this Opposition to Plaintiff’s Amended Rule

56 Motion for Partial Summary Judgment (ECF No. 92) (the “Motion”). 1

I.       Introduction

         Plaintiff cites two reasons the Court should grant summary judgment on her

retaliation claims (Counts XVII, XVIII, and XIX). The first is that four days after

the parties engaged in mediation, Defendant informed her that she could not use PTO

while out on a disability leave. Motion, 1(A)(iii), p. 3. Plaintiff makes no claim of



1
 One day prior to filing this Motion, Plaintiff filed a separate Motion for Summary
Judgment (ECF No. 89) that Plaintiff later deemed incomplete. See Motion (ECF
No. 92) at p.1 Accordingly, Defendant responds to Plaintiff’s Amended Rule 56
Motion for Partial Summary Judgment only (ECF No. 92).
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damages as a result of this alleged act of retaliation because she has none. Motion

C, p. 6 – 7. Plaintiff was paid earned but unused PTO following her resignation from

employment. The second reason Plaintiff thinks the Court should grant summary

judgment is based on the Defendant’s treating the employment relationship as ended

following her resignation, which Plaintiff says happened seven days after the

mediation. This despite her own acknowledgement, and the testimony of her

grandmother, that she agreed to resign.

      Plaintiff’s Motion fails for several reasons. First, Plaintiff cannot establish

that she did not resign from employment with Defendant and thus cannot show any

adverse action by Defendant (none exists). Second, the documents relied upon by

Plaintiff to claim she was told she could use PTO during a paid disability leave, and

then retaliated against by being told she could not based on a tortured reading of

emails, do not support Plaintiff’s factual premise, and certainly not a claim of

retaliation. Third, Plaintiff cannot establish a causal connection between her alleged

protected activity—filing her PHRC Complaints—and any alleged adverse action

by Defendant., Plaintiff’s arguments regarding causation are legally insufficient and

rely on “facts” about which there are genuine issues.




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II.   Plaintiff’s Motion for Summary Judgment should be denied as the bases
      therefore are not supported by law, nor based upon material facts about
      which there is no issue

      A.     Plaintiff is not entitled to summary judgment on her claim of retaliation
             for engaging in mediation, and thereafter being: terminated; or refused
             use of PTO while on disability leave contrary to a prior statement from
             Defendant’s Chief Administrative Officer that she could

      Contrary to Plaintiff’s view, it is undisputed that Plaintiff agreed to resign in

exchange for $50,000 prior to leaving Defendant’s employ.2 There can be no

retaliation i.e., adverse action by Defendant where Plaintiff resigned from

employment—as she admitted in writing—and her own grandmother confirmed

during her deposition. See Green v. Brennan, 578 U.S. 547, 574 (2016) (“A

resignation cannot be deemed the equivalent of an actionable intentional termination

of the employer lacks intent to terminate.” (Alito, J., concurring) (citing Staub v.

Proctor Hospital, 562 U.S. 411, 417-418 (2011)). Summary judgment should be

entered in Defendant’s favor because Plaintiff cannot show that she did not resign—

and she cannot show that Defendant’s belief that she did resign was based on

anything other than her agreement to do so.



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  Defendant has also filed a Motion For Summary Judgment asking the Court to
enforce the parties agreement that Plaintiff agreed to resign and release InductEV
of claims in exchange for $50,000. Motion for Summary Judgment (ECF No. 131-
2) at p. 21. Defendant incorporates the evidence of record and argument cited therein
in response to Plaintiff’s Motion.
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      With audacity bordering on lack of candor with the Court, Plaintiff’s Motion

omits any mention of her written acknowledgement that she agreed to resign—which

she referenced as early as the Complaint filed on March 10, 2023, and addressed

again when responding Defendant’s Motion to Dismiss the Complaint. See

Complaint (ECF No. 1 at Ex. A, ¶ 266); Defendant’s Motion to Dismiss (ECF No.

10) at p. 10). That is, Plaintiff ignores her own September 27, 2022 admission: “In

mediation I did agree to a verbal agreement in which I would resign and dismiss

existing claims(prior to Sep 19) in return for a settlement amount of 50,000 from

Momentum Dynamics Corp.” Motion at Ex. 3 (ECF No. 92-2). Nor does she address

her grandmother’s testimony “[t]here was a verbal agreement that she would resign

and dismiss existing claims in return for a settlement amount of 50,000 dollars.”

Motion for Summary Judgment (ECF No. 132-2) at p. 21. Id. Plaintiff has stridently

and ineffectively attempted to rationalize her revocation of the settlement and

agreement to resign based primarily on what she thought, but not based on the words

expressed between the parties. And while Plaintiff attempts to cast doubt on

Defendant’s reliance on her “verbal agreement” to resign, she presents no evidence

creating an issue of material fact that Defendant relied on anything to the contrary.

See id.

      Plaintiff also references the deposition testimony of Alexa Heisler and Patti

Rensel ostensibly for the purpose of disproving that any agreement existed—


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ignoring her own written acknowledgement and ignoring Ms. Rensel’s testimony

that a verbal agreement was reached during mediation in which Plaintiff agreed “to

resign from employment in exchange for compensation.” See Motion for Summary

Judgment (ECF No. 131-8, at p. 5). Further as Plaintiff indicates, Ms. Heisler was

not present for the entire mediation. Motion at p. 4; Ex. A at 11:12-18. But the mere

fact that Ms. Heisler was not present for the entire mediation does not mean that a

verbal agreement was not reached.

      Plaintiff claims that she was retaliated against when, after the mediation, Judy

Talis told her she could not take PTO while on a paid disability leave. Plaintiff

claims this was done in retaliation for participating in the mediation as it supposedly

contradicts an earlier statement from Ms. Talis that Plaintiff could use PTO during

paid disability. This convenient, forced reading of Ms. Talis’ first message is

another example of Plaintiff projecting unlawful intent onto a neutral act based on

standard policy.

      The initial June 17, 2022 statement of Ms. Talis that Plaintiff could use PTO

was communicated in relation to Plaintiff having qualified for FMLA leave as of

June 14, 2022, and reflects InductEV’s FMLA policy that allowed employees on

unpaid FMLA leave to use PTO. Motion I. (B)(ii). It was not in reference to use of

PTO during a paid disability leave—which is not a common practice as it encourages

malingering. As there are more than 14 weeks between June 14, 2022, when


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Plaintiff’s FMLA began, and Ms. Talis’ September 23, 2022 message, Plaintiff’s

FMLA entitlement had been exhausted. Therefore, when Ms. Talis informed

Plaintiff on September 23, 2022 that she is “unable to put in for PTO as you are still

on disability leave and you cannot take PTO unless you are back to work” it is

because Plaintiff was no longer on FMLA leave, and employees on paid disability

leave are ineligible for PTO. Motion I. (B)(i). It is not because of retaliatory or

discriminatory reasons, but for the simple fact it is true and is not contradictory to

the June 17, 2022 message from Ms. Talis. However, as Plaintiff had decided to

disavow her settlement of the case and resignation and look for actions she can cite

in support of her claims, she conveniently misreads that June 17, 2022 message as

extending the opportunity to take PTO to an employee on paid disability leave. Id.

Indeed, Plaintiff never cites the respective policies relating to STD or FMLA in

support of her claim.

      B. Setting aside the lack of legal or factual support for Plaintiff’s Motion, it
         also fails as Plaintiff cannot establish causation between her allegedly
         protected acts, and the allegedly retaliatory acts

      Nor can Plaintiff establish the requisite causation required to maintain her

Title VII retaliation claims. To prevail on her retaliation claims, Plaintiff must

establish a “causal connection” between her protected activity—filing her

administrative   complaints—and      some     adverse   action—Plaintiff’s    alleged

termination. See Jones v. Se. Pa. Transp. Auth., 796 F.3d 323, 326 (3d Cir. 2015).


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To do so, Plaintiff must prove that her “protected activity was a but-for cause of the

alleged adverse action by the employer.” Tomaszewski v. City of Philadelphia, 460

F. Supp. 3d 577, 599 (E.D. Pa. 2020) (quoting Univ. of Texas Sw. Med. Ctr. v.

Nassar, 570 U.S. 338, 362 (2013)). This can be established “by showing ‘(1) an

unusually suggestive temporal proximity between the protected activity and the

alleged retaliatory action, or (2) a pattern of antagonism coupled with timing to

establish a causal link’ or (3) ‘from the evidence gleaned from the record as a whole’

the trier of the fact should infer causation.’” Kargbo v. Philadelphia Corp. v. Aging,

16 F. Supp. 3d 512, 533 (E.D. Pa. 2014) (quoting Jean W. v. DeFlaminis, 480 F.3d

259, 267 (3d Cir. 2007)). Plaintiff fails to make that showing. Nor can she, given

that three months had elapsed between when she filed her administrative complaints

and when she claims she was terminated—three months during which Plaintiff

remained employed, was granted accommodations, FMLA leave, and except for the

two acts cited in her Motion, apparently satisfied with how she was treated.

      Plaintiff also argues she was terminated “in response to [her] filing a

complaint against [Defendant] with the EEOC and PHRC.” Motion at p. 10, ¶ 3.

Plaintiff’s complaints were served on Defendant on June 22, 2022. See Defendant’s

Motion for Summary Judgment (ECF No. 131-3, ¶ 3).3 Yet Plaintiff claims she



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  According to Plaintiff’s Motion, she “dual-filed” her complaint with the EEOC
and PHRC on May 8, 2022. Motion at p. 2, I. A) i).
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suffered adverse employment action via termination months later on September 27,

2022. Motion at p. 2 (“On 9/27/2022, my employment was deemed terminated and

I was locked out of my employee accounts.”). Hence three months (and five days)

had elapsed between Plaintiff’s alleged protected activity and her alleged

termination. The Third Circuit has held that shorter time periods are not unusually

suggestive for purposes of establishing causation to support a retaliation claim. See

Williams v. Philadelphia Hous. Auth. Police Dept’, 380 F.3d 751, 760 (3d Cir. 2004)

(concluding that two-month time frame, without more, is not “unusually suggestive”

of retaliation and affirming summary judgment in favor of employer), superseded

on other grounds as stated in Petti v. Ocean Cnty. Bd. of Health, 931 F’App’x 59

(3d Cir. 2020); see also LeBoon v. Lancaster Jewish Cmty. Ctr. Ass’n, 503 F.3d 217,

232 (3d Cir. 2007) (concluding that three-month time frame was not unusually

suggestive and affirming summary judgment in favor of employer).

      Yet Plaintiff attempts to rely on the timing between the mediation and her

request to take PTO while on disability leave (4 days), and the timing between the

mediation—during which she agreed to resign—and when she was removed from

her employee account (7 days) as unusually suggestive of a causal connection.

Plaintiff is reasonably facile with legal research, and may well have been aware of

the cases cited in the preceding paragraph in deciding to ascribe protected status to

the acts cited, thereby collapsing three months to a week. Plaintiff conflates these


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events with her actual protected activity—filing her administrative complaints—to

manufacture a causal nexus when none exists.

      However, neither participating in a voluntary mediation nor seeking PTO

while already on disability leave constitutes protected activity for purposes of a Title

VII retaliation claim. See Moyer v. Kaplan Higher Educ. Corp., 413 F. Supp. 2d

522, 526 (E.D. Pa. 2006) (“to demonstrate that she engaged in a protected activity,

plaintiff must show that she 1) opposed a practice made unlawful by Title VII or the

PHRA, 2) filed a charge of discrimination, or 3) participated in a charge brought by

another.”). The more obvious (and unrebutted explanation) is that Plaintiff agreed

to resign during mediation and Defendant, relying on that resignation and believing

she was no longer employed, removed her from her employee account.

      Plaintiff attempts to bolster her causation argument by arguing Defendant

threatened to sue her to enforce the terms of the settlement agreement after she

reneged. Other than this one-off (and natural) response to Plaintiff’s refusal to honor

the terms of her bargained for agreement—which occurred literally months after she

engaged in any protected activity—Plaintiff has no evidence suggesting any “pattern

of antagonism” coupled with the timing of Plaintiff’s protected activity, or any

evidence from which a jury could infer causation. Indeed, everything Plaintiff relies

on suggests that Defendant relied on Plaintiff’s agreed-upon resignation—and

nothing more—in believing she resigned.


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                                  CONCLUSION

      For the foregoing reasons, Plaintiff’s Motion should be denied, and summary

judgment should be entered in Defendant’s favor, as Plaintiff cannot establish that

she did not resign and cannot as a matter of law establish causation on her retaliation

claims.

                                            Respectfully Submitted,

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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on September 13, 2024, a true and

correct copy of the foregoing document was served on all parties via electronic mail

per the addresses contained on the docket in this matter.




                                              FOX ROTHSCHILD LLP

                                              /s/ Randall C. Schauer
                                              Randall C. Schauer, Esquire
                                              Attorney for Defendant, InductEV




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